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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       )
                                                )
                v.                              )
                                                )
 RICHARD W. GATES III,                          )             Crim. No. 17-201-2 (ABJ)
                                                )
                Defendant.                      )


DEFENDANT RICHARD W. GATES III’S RESPONSE TO THE COURT’S OCTOBER
                      2, 2018, MINUTE ORDER

       Defendant, by and through counsel, responds to this Court’s October 2, 2018, Minute

Order in which the Court ordered “counsel for defendant Gates [to] notify the Court by October

9, 2018 if defendant has any objection to unsealing the exhibit attached to Dkt. 166 in United

States v. Manafort, 17-cr-201.” Defendant hereby informs the Court that he does not object to

the unsealing of the sealed exhibit attached to Dkt. 166 in United States v. Manafort, 17-cr-201.



                                                     Respectfully submitted,


                                                     /s/Thomas C. Green
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                                                     Attorney for Richard W. Gates III




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